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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

JAMES ZEMAITIS,

       Plaintiff,                                Case No. 22-cv-
-vs-
                                                 Hon.
ORACLE AMERICA, INC.,
a Foreign Profit Corporation,

       Defendant.

Jennifer Lossia McManus (P65976)
Ryan O. Rosenberg (P84530)
Fagan McManus, P.C.
Attorneys for Plaintiff
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                      COMPLAINT AND JURY DEMAND

                There is no other pending or resolved civil action
                  arising out of the transaction or occurrence
                            alleged in the Complaint.

       NOW COMES Plaintiff, JAMES ZEMAITIS, by and through his

attorneys, FAGAN MCMANUS, P.C., and for his cause of action against the

Defendant, states as follows:
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                     JURSIDCTIONAL ALLEGATIONS

      1.    Plaintiff, JAMES ZEMAITIS (hereinafter referred to as “Plaintiff”),

is an individual residing in the City of Royal Oak, County of Oakland, State

of Michigan.

      2.    Defendant, ORACLE AMERICA, INC., (hereinafter referred to as

“Defendant” or “Oracle”), is a Foreign Profit Corporation with its headquarters

located in Redwood Shores, California.

      3.    At all times pertinent hereto, Oracle did conduct business in the

State of Michigan.

      4.    At all times pertinent hereto, Plaintiff worked out of his home in

Royal Oak Michigan and/or out of an Oracle facility in Troy, Michigan.

      5.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (federal

question jurisdiction) and 28 U.S.C. § 1332 (diversity jurisdiction).

      6.    The amount in controversy is in excess of $75,000.00, exclusive

of all interest, costs, attorney fees and punitive damages.


                         GENERAL ALLEGATIONS

      7.    Plaintiff’s date of birth is October 21, 1963.

      8.    Plaintiff began his employment with Defendant in 1996.

      9.    Plaintiff’s last position with Defendant was Group Vice President.

      10.   Plaintiff performed well throughout his employment with
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Defendant.

      11.    In June 2020, Plaintiff began reporting to a new Senior Vice

President, Pat Mungovan.

     12.     Mungovan often told Plaintiff that Plaintiff operated in a “legacy

capacity, legacy thinking, or with legacy motions” rather than a modern

business model, with the implication being that Plaintiff operated as an older

worker.

     13.     Mungovan regularly hired and promoted younger workers, kept

the older workers in the “legacy” license roles, and failed to provide older

workers an opportunity to work in Oracle’s more lucrative and strategic

aligned cloud-based business.

     14.     In early September 2021, Mungovan combined Plaintiff’s

organizational group with another organizational group.

     15.     Shortly thereafter, Plaintiff was notified that a younger, less

experienced employee who is in his mid-40s was taking over the leadership

of Plaintiff’s organizational group in addition to the one that the younger

employee already managed.

     16.     Plaintiff was never considered for the newly combined

organizational leadership role.

     17.     The newly combined organizational leadership role was never
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openly posted, Plaintiff was never interviewed or considered for the position,

and it was never discussed with him prior to the announcement that it was

decided.

        18.   Plaintiff was fully qualified for the newly combined organizational

leadership role.

        19.   Plaintiff   was   more   qualified   for   the   newly   combined

organizational leadership role than the younger, less experienced individual

that was given the role.

        20.   Plaintiff had 10 more years of experience and longevity with

Defendant than the younger, less experienced individual that was given the

role.

        21.   In addition, prior to this leadership change, Defendant failed to

conduct its standard career planning and performance review discussions

with Plaintiff even though Plaintiff submitted his required self-appraisal

validating high performance, abilities and desire for more responsibility within

the requested time frame.

        22.   Plaintiff was notified that he was terminated less than thirty days

after the creation of the new organizational leadership role, on September

29, 2021.

        23.   In On December 7, 2021, Plaintiff filed a Charge of Discrimination
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with the Equal Employment Opportunity Commission (“EEOC”) alleging age

discrimination in violation of the Age Discrimination in Employment Act.

      24.   Over 60 days have passed on Plaintiff’s filing of the EEOC

Charge, therefore, Plaintiff has initiated this lawsuit.


                          COUNT I
  VIOLATION OF THE AGE DISCRIMINATION IN EMPLOYMENT ACT

      25.   Plaintiff incorporates the above paragraphs as if specifically

repeated herein.

      26.   At all times pertinent hereto, Plaintiff was qualified for protection

against age discrimination under the Age Discrimination in Employment Act

of 1967, as amended (hereinafter “ADEA”).

      27.   Pursuant to the ADEA, specifically 29 U.S.C. §623(a), it shall be

unlawful for an employer:

            a.     to discharge any individual or otherwise discriminate
                   against an individual with respect to his compensation,
                   terms, conditions, or privileges of employment, because of
                   such an individual’s age.


      28.   Defendant is an employer within the meaning of the ADEA.

      29.   Defendant discriminated against Plaintiff because of his age and

violated the ADEA in the following particulars:

            a.     Unlawfully terminating Plaintiff’s employment due to his
                   age;
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            b.    Replacing Plaintiff with a younger employee;

            c.    Failing to consider Plaintiff for the newly combined
                  organizational role;

            d.    Other acts of discrimination to be determined through
                  discovery.


      30.   As a direct and proximate result of Defendant’s discriminatory

conduct toward Plaintiff in violation of the ADEA, Plaintiff has suffered and in

the future will suffer damages including, but not limited to:

            a.    Loss of wages and other forms of compensation, both in
                  the past and in the future, including:

                         i. The loss of wages;

                         ii. The loss of commissions;

                        iii. The lost value of restricted stock unit options;

                        iv. The loss of promotional opportunities;

                        v. The loss of earning capacity;

                        vi. Other damages to be determined.


      31.   The above-referenced discriminatory conduct by Defendant

toward Plaintiff was willful and, as a result, Plaintiff is entitled to liquidated

damages pursuant to 29 U.S.C. §626(b).

      32.   Plaintiff is also seeking equitable relief, including back-pay, front-
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pay, or other equitable relief the Court deems appropriate.

      WHEREFORE, Plaintiff prays that this Honorable Court enter

Judgment against Defendant, in whatever amount the Court or Jury

determines to be fair, just, and adequate compensation for the injuries and

damages sustained, past and future, together with interest, costs, an award

of attorney fees, and an award of liquidated damages. Plaintiff is also

seeking equitable relief, including back-pay, front-pay, or other equitable

relief the Court deems appropriate.


                              COUNT II
            VIOLATION OF ELLIOTT-LARSEN CIVIL RIGHTS ACT

      33.    Plaintiff incorporates the above paragraphs as if specifically

repeated herein.

      34.    Defendant is an employer as defined pursuant to §201(a) of the

Elliott-Larsen Civil Rights Act (hereinafter “ELCRA”).

      35.    Pursuant to §202 of the ELCRA, an employer shall not:

             a.    fail or refuse to hire or recruit, discharge, or otherwise
                   discriminate against an individual with respect to
                   employment, compensation, or a term, condition or
                   privilege of employment, because of … age.


      36.    Defendant discriminated against Plaintiff because of his age and

violated the ELCRA in the following particulars, including, but not limited to:
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            a.    Terminating Plaintiff’s employment and replacing him with
                  a substantially younger and less experienced individual;

            b.    Failing to consider Plaintiff for the newly combined
                  leadership role;

            c.    Other acts of discrimination to be determined through
                  discovery.


      37.   As a direct and proximate result of Defendant’s discriminatory

conduct toward Plaintiff, Plaintiff has suffered and in the future will suffer

damages including, but not limited to:

            a.    Loss of wages and other forms of compensation including
                  commissions and company stock, both in the past and in
                  the future;

            b.    Loss of the value of benefits, both in the past and in the
                  future;

            c.    Loss of promotional opportunities;

            d.    Loss of earning capacity;

            e.    Extreme embarrassment, humiliation, mental anguish,
                  disappointment, outrage and indignity;

            f.    Exemplary damages;

            g.    Other damages to be determined.


      38.   Plaintiff also seeks equitable relief including back-pay, front-pay,

or other equitable relief the Court deems appropriate.

      WHEREFORE, Plaintiff prays that this Honorable Court enter
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Judgment against Defendant, in whatever amount the Court or Jury

determines to be fair, just, and adequate compensation for the injuries and

damages sustained, past and future, together with interest, costs, and an

award of attorney fees. Plaintiff is also seeking equitable relief, including

back-pay, front-pay, or other equitable relief the Court deems appropriate.

                                         Respectfully submitted,

                                         FAGAN MCMANUS, P.C.

                                         By: /s/ Jennifer L. McManus
                                            Jennifer L. McManus (P65976)
                                            Attorney for Plaintiff
                                            25892 Woodward Avenue
                                            Royal Oak, MI 48067-0910
                                            (248) 542-6300
Dated: February 7, 2022                     jmcmanus@faganlawpc.com
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JAMES ZEMAITIS,

       Plaintiff,                             Case No. 22-cv-
-vs-
                                              Hon.
ORACLE AMERICA, INC.,
a Foreign Profit Corporation,

       Defendant.


                    PLAINTIFF'S DEMAND FOR JURY TRIAL

       NOW COMES the above-named Plaintiff, by and through his attorneys,

FAGAN MCMANUS, P.C., and hereby demands trial by jury on the above

matter.

                                        Respectfully submitted,

                                        FAGAN MCMANUS, P.C.

                                        By: /s/ Jennifer L. McManus
                                           Jennifer L. McManus (P65976)
                                           Attorney for Plaintiff
                                           25892 Woodward Avenue
                                           Royal Oak, MI 48067-0910
                                           (248) 542-6300
Dated: February 7, 2022                    jmcmanus@faganlawpc.com
